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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

filed pursuant to 28 U.S.C. § 2255 to vacate, set aside or

correct sentence (Filing No. 216).           The filing contained a brief

and supporting evidence.      In his motion, he claims that he

received ineffective assistance of counsel in three respects.

            In Claim 1, defendant states “defendant’s attorney

preserved the argument of improper evidence of a gun introduced

at trial, for appeal, but failed to adequately address the issue

in the initial appeal or argue it in his motion for acquitttal.”

            In Claim 2, defendant alleges “defendant’s attorney

failed to call witnesses on his behalf, even though defendant

told him he had a witness.          Defendant also expressed his desire

to testify in the instant case, but was kept from doing so by his

counsel.”

            In Claim 3, defendant alleges “defendant’s attorney

failed to object to jury instructions or introduce jury

instructions about mere association.”
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            The United States Supreme Court has long recognized

that the Sixth Amendment right to counsel is necessary to protect

the fundamental right to a fair trial.           Strickland v. Washington,

466 U.S. 668, 684 (1984).      This right to counsel is “the right to

effective assistance of counsel.”         Id. at 686 (quoting McMann v.

Richardson, 397 U.S. 759, 771, n. 14 (1970)).             An ineffective

assistance of counsel claim has two components: (1) the defendant

must show that counsel’s performance was deficient; and (2) the

defendant must show that the deficient performance prejudiced the

defense.    Strickland, 466 U.S. at 687.

            To demonstrate prejudice, a defendant must show that

“counsel’s errors were so serious as to deprive the defendant of

a fair trial, a trial whose result is reliable.”              Id. at 687.

The Supreme Court has stated that “[i]t is not enough for the

defendant to show that the errors had some conceivable effect on

the outcome of the proceeding.”        Id. at 693.       Rather, the

defendant must show that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the

proceeding would have been different.          A reasonable probability

is a probability sufficient to undermine confidence in the

outcome.”    Id. at 694.    The Court must ask whether a reasonable

probability exists that absent the errors, the factfinder would

have a reasonable doubt respecting guilt, based upon the totality

of the evidence.    Id. at 695.


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                             BACKGROUND

           Defendant was charged in a third superseding indictment

returned on September 22, 2004, with three crimes.                Count I

charged him with conspiracy to distribute or possess with intent

to distribute cocaine base.         Count II charged defendant with

using and carrying a firearm in furtherance of the conspiracy

charged in Count I, and Count V charged the defendant with the

crime of being a felon in possession of a firearm.

           The case was tried in January, 2005, and the jury

returned a verdict on February 3, 2005, finding the defendant

guilty of the crimes charged in Counts I and II of the

indictment, and not guilty of the crime charged in Count V of the

indictment.    The defendant subsequently appealed his conviction

and sentence, and the United States Court of Appeals for the

Eighth Circuit affirmed his conviction in an opinion filed May 5,

2006, but remanded the case for resentencing.               The defendant was

subsequently resentenced.      He again appealed the sentence, and

the Court of Appeals for the Eighth Circuit affirmed the sentence

in an opinion filed on December 6, 2007.               No petitions for writ

of certiorari were filed by or on behalf of the defendant.                   His

present motion was timely filed on December 3, 2008.

           Defendant now seeks to have his conviction and sentence

set aside on the basis of ineffective assistance of counsel with

respect to the three issues identified in his motion.


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                                    DISCUSSION

            His first claim is that his counsel, while preserving

an argument of improper evidence of a gun at trial, failed to

adequately address the issue in his initial appeal or in his

motion for judgment of acquittal made at the close of the

government’s case and renewed at the close of all of the

evidence.    The identification of the gun related primarily to the

crime charged in Count V of the indictment, and the jury returned

a verdict of not guilty on that charge.           While the gun identified

in Count II and Count V appear to be the same gun, there was

testimony from a number of witnesses identifying the gun which

was described in Count II which supports the jury’s verdict of

guilty on Count II.

            One of the defendant’s contentions is that the jury

ought not to be able to return a verdict of not guilty on Count V

and find him guilty of the crime charged in Count II.               However,

the elements of the crime charged in Count V are different than

the elements in Count II, and the jury’s verdict that the

government had failed to prove all of those elements does not

establish that he did not possess the firearm described in Count

II.

            The case was vigorously defended by Mr. Schense, but

the showing that defendant has made does not show that “there is

a reasonable probability that, but for this ‘claimed’ error, the


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result would have been different.”         The evidence overwhelmingly

supports the charge contained in Count II.            For all of the

foregoing reasons, the Court finds that this ground is without

merit.

           His second claim is that his counsel’s failure to call

witnesses on his behalf and not to allow him to testify denied

him effective assistance of counsel.          However, the transcript of

the trial, Pages 887-89, refutes this claim.             At the conclusion

of the government’s case in chief, the Court reviewed with the

defendant his right to testify and his right not to testify.

Defendant advised the Court that he had discussed the matter with

Mr. Schense, that they had discussed both the advantages and

disadvantages of his testifying, and that he had decided not to

testify in this case.      The following colloquy then took place

between the Court and the defendant:

                 THE COURT: In reaching that
                 decision, has anyone forced you in
                 any way or threatened you in any
                 way that causes you to make that
                 decision?

                    THE DEFENDANT: No, sir.

                 THE COURT: Are you satisfied that
                 your decision not to testify is a
                 voluntary and understanding and
                 knowing decision on your part:

                    THE DEFENDANT: Yes, sir.

                 THE COURT: Now, Mr. Schense has
                 concluded that you will not be


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                 offering any evidence in this case
                 You understand that?

                    THE DEFENDANT: Yes, sir.

                 THE COURT: You and Mr. Schense have
                 discussed that?

                    THE DEFENDANT: Yes, sir.

                 THE COURT: Do you concur with that
                 decision?

                    THE DEFENDANT: Yes, sir.

           The record amply reflects that defendant acknowledged

that it was his decision not to testify and that he agreed with

his counsel in not producing any evidence during his case in

chief.   Accordingly, the Court finds that this claim is without

merit.

           His third claim is that his counsel failed to object to

jury instructions or introduce jury instructions about mere

association.    The Court has reviewed the instructions which it

gave the jury.    In Instruction No. 11, the Court charged the jury

in part:

                 You should understand that merely
                 being present at the scene of an
                 event, merely acting in the same
                 way as others or merely associating
                 with others, or merely being a
                 member of a gang, does not prove
                 that a person has joined in an
                 agreement or understanding. A
                 person who has no knowledge of a
                 conspiracy but who happens to act
                 in a way which advances some
                 purpose of one, does not thereby
                 become a member.

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           This instruction satisfies the defendant’s claim and

his third claim is without merit and should be denied.

           Accordingly, the Court finds that defendant’s motion

filed pursuant to 28 U.S.C. § 2255 is without merit and should be

denied in its entirely.      A separate order will be entered in

accordance with this memorandum opinion.

           DATED this 28th day of January, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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